Case 2:96-cV-02520-.]PI\/| Document 853 Filed 08/10/05 Page 1 of 3 Page|D 1666

IN THE UNITED sTATEs DISTRICT cqulf§ BY //C/ D_C_
FoR THE wEsTERN DISTRICT OF TENNESSEE '“"““

WESTERN DIVISION 05 AUG 10 AHH; 19

THOMA.S M. CNU¥.D
CLER’K., U.S F"Y°~W!CT CUURT

WDG:? HF§H£

 

DARIUS D . LITTLE ,

 

Plaintiff,
v. NO. 96-2520 Ml/P

sHELBY cOUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the

following months in 2005:

January: $4,813.10
February: $4,328.75
March: $4,779.85
April: $5,738.70
May: $2,452.40
Jul‘le: $1,884.73

Accordingly, the Clerk of Court is directed to send the
total amount of $24,047.53 to the Assistant Special Master, Wanda
J. Kilgore~Schneider at, 65 Sunhaven Drive, Jackson, Tennessee,
38305.

IT Is SO oRDERED THIS '/(L/ DAY OF August;, 2005.

Qm(`:f@

JON P. MCCALLA
U'N ED STATES DISTRICT JUDGE

   
   

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UNIED sTATEsDIsTRIC COURT - WESERTN DITRICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 853 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Case 2:96-cV-02520-.]PI\/| Document 853 Filed 08/10/05 Page 3 of 3 Page|D 1668

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Honorable J on McCalla
US DISTRICT COURT

